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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 CAMPAIGN FOR ACCOUNTABILITY,

                Plaintiff,

         v.
                                                            No. 1:16-cv-1068 (KBJ)
 UNITED STATES DEPARTMENT OF
 JUSTICE,

                Defendant.


                               THIRD JOINT STATUS REPORT

       Pursuant to the Court’s March 5, 2021 Order, Plaintiff Campaign for Accountability

(“Plaintiff”) and Defendant United States Department of Justice (“Defendant”) respectfully

submit this Third Joint Status Report to address further proceedings in this case. The parties met

and conferred by email on April 5, 2021.

       The parties have conferred and made progress on a joint factual record for summary

judgment to obviate the need for discovery at this time. To continue these discussions, the parties

jointly propose that Plaintiff submit any outstanding factual questions based on the parties’ initial

exchange of drafts to Defendant by April 12, 2021. Defendant will share a second draft statement

of facts that incorporates responses to Plaintiff’s inquiries with Plaintiff by April 26, 2021.

Plaintiff will provide any edits to the statement to Defendant by May 10, 2021. After consulting,

the parties will file a Fourth Joint Status Report by May 24, 2021, to advise the Court of whether

and when the parties are prepared to proceed to summary judgment.




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DATED: April 5, 2021                     Respectfully submitted,

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